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JUDGE MARRERO

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT

v. 23 Cr,

SHAKEEB AHMED, ao CRIM 3 A OQ

Defendant.
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WSR See y i
COUNT ONE
i Jj
(Wire Fraud)
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The Grand Jury charges: ri .
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Overview enn ;

l. In or about July 2022, SHAKEEB AHMED, the defendant, a United States citizen
who was residing in Manhattan, New York, orchestrated and executed a scheme to fraudulently
obtain approximately $9 million worth of cryptocurrency (the “Attack”) from a decentralized
eryptocurrencyvexchange (the “Crypto Exchange”), including cryptocurrency deposited by the
Crypto Exchange’s users. AHMED conducted the Attack by exploiting a vulnerability in the
Crypto Exchange.and inserting fake pricing data to fraudulently generate millions of dollars’ worth
of inflated fees that AHMED did not in fact earn, but which AHMED was able to withdraw from
the Crypto Exchange in the form of cryptocurrency, thereby defrauding the Crypto Exchange and
its users, whose cryptocurrency AHMED had fraudulently obtained. At the time of the Attack,
AHMED was employed as a senior security engineer at a leading international technology
company unrelated to the Crypto Exchange. His resume reflected skills in, among other things,
reverse engineering smart contracts and blockchain audits, which are some of the specialized skiils

AHMED used to execute the Attack.

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2. After the Attack, SHAKEEB AHMED, the defendant, laundered the stolen
cryptocurrency through a series of transactions designed to conceal the source and owner of the
funds, including through: (a) conducting token-swap transactions; (b) “bridging” fraud proceeds
from the Solana blockchain over to the Ethereum blockchain; (c) exchanging fraud proceeds into
Monero, an anonymized and particularly difficult cryptocurrency to trace; and (d) using overseas
cryptocurrency exchanges.

3, After the Attack, SHAKEEB AHMED, the defendant, also searched online for
information about, among other things, the Attack, his own criminal lability for the Attack,
criminal defense attorneys with expertise in similar cases, law enforcement’s ability to successfully
investigate the Attack, and fleeing the United States to avoid criminal charges.

4. After the Attack and once in possession of the stolen fees in cryptocurrency,
SHAKEEB AHMED, the defendant, decided to return a substantial portion of the fraud proceeds
to the Crypto Exchange, and to provide information to the Crypto Exchange about how AHMED
accomplished the Attack, if the Crypto Exchange refrained from referring his fraudulent scheme
to law enforcement. AHMED ultimately kept approximately $1.5 million worth of fraudulently
obtained cryptocurrency.

Background on the Crypto Exchange

5, The Crypto Exchange was incorporated overseas and operates on the Solana
blockchain. At ail relevant times, the Crypto Exchange was a decentralized exchange that allowed
users to deposit and exchange different kinds of cryptocurrencies,

6. A decentralized exchange does not rely on any sort of entity or company to act as
an intermediary between buyers and sellers. Instead, it relies on “smart contracts” associated with

“liquidity pools,” analogous to pots of money, in order to serve as an “automated market maker.”
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A “smart contract” is a computer program that runs on a blockchain. An “automated market
maker” controls a “liquidity pool” of different types of cryptocurrencies, and uses a smart contract
to buy and sell the cryptocurrencies in that liquidity pool.

7. More specifically, the Crypto Exchange was a concentrated liquidity market maker,
meaning that it allowed individuals or entities depositing cryptocurrency into its liquidity pools—
referred to as “liquidity providers”—to set the price ranges—-referred to as “ticks”—at which the
individuals’ cryptocurrency in the liquidity pool would be traded. For example, an individual who
deposits 100 Ether into the concentrated liquidity market maker’s hquidity pool can control the
range at which the 100 Ether is offered for liquidity, so the individual might, for example, provide
the 100 Ether subject to the limitation that it only be traded when the price is between .9 and 1.1
Bitcoin. In this example, the liquidity provider would profit by receiving a percentage of the
transaction fees generated if the specified price range was triggered. In this example, .9 Bitcoimn
would be the lower tick, and 1.1 Bitcoin would be the upper tick.

8, At all relevant times, the Crypto Exchange paid fees to liquidity providers who
deposited cryptocurrency into a liquidity pool. Those fees were calculated by a smart contract that
took into account, among. other things, the total amount of cryptocurrency the liquidity provider
deposited and the actual amount of liquidity that was provided based on the price ranges selected
by the liquidity provider. In essence, the greater the amount of eryptocurrency and liquidity
provided, the higher the fee the liquidity provider could earn. More broadly, larger cryptocurrency
deposits on the Crypto Exchange limit price volatility and increase liquidity.

9. One of the inputs into the smart contract that calculated those fees was referred to
as a “tick account.” The tick accounts were owned and controlled by the Crypto Exchange—in

other words, the blockchain showed that the owner of the tick accounts was the Crypto Exchange,
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and not any user or other third party. The tick accounts contained data about, among other things,
how much liquidity all liquidity providers had provided for a particular price range, or tick. Users
could not create or own tick accounts.

10, Another input into the smart contract that calculated the fees was referred to as a
“position account.” Position accounts kept track of a user’s share in a liquidity pool. In contrast
to a tick account, which users could not create, the Crypto Exchange was set up to allow any user
to create a “position account.”

11. Position accounts and tick accounts contained different types of data, but the
general format of the two accounts was similar. As structured by the Crypto Exchange, both tick
accounts and position accounts were listed as owned by the Crypto Exchange on the blockchain,
even though position accounts could be created by a user. SHAKEEB AHMED, the defendant,
exploited this vulnerability during the Attack, as described further below.

The Attack on the Crypto Exchange

12. To carry out the Attack, SHAKEEB AHMED, the defendant, among other things:
(a) the day before the Attack, conducted a series of test transactions of nominal value with the
Crypto Exchange to obtain tick data and locate system vulnerabilities; (b) created at least two
accounts that were mof tick accounts; (c) supplied one of these non-tick accounts with fake price-
tick data; and (d) carefully structured and designed these non-tick accounts to nonetheless falsely
appear as authentic tick accounts. In other words, AHMED used at least two non-tick accounts
that he intentionally created and designed to masquerade as tick accounts (the “Fake Tick
Accounts”) to fraudulently cause the Crypto Exchange’s smart contract to accept them as
legitimate tick accounts. As described below, AHMED used one such Fake Tick Account (the

“First Fake Tick Account”) to generate millions of dollars of inflated fees based on the fake price-
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tick data he supplied, and the other Fake Tick Account (the “Second Fake Tick Account”) to
withdraw millions of dollars’ worth of cryptocurrency.

13. On or about July 2, 2022, SHAKEEB AHMED, the defendant, created the First
Fake Tick Account and fraudulently caused the Crypto Exchange’s smart contract to accept it as
authentic. AHMED entered fake price-tick data into the First Fake Tick Account in order to
fraudulently cause the Crypto Exchange’s smart contract to calculate that AHMED had provided
more liquidity to the pool than he had actually contributed, which generated large fees for Ahmed
that he had not legitimately earned. In other words, the Crypto Exchange’s users legitimately earn
fees based on how much cryptocurrency they provide to the liquidity pool in relation to pool-wide
data. By entering fake price-tick data into the First Fake Tick Account, AHMED used fake data
to make it falsely appear to the Crypto Exchange that AHMED had provided more liquidity to the
pool than he actually had, and thus, AHMED was able to fraudulently generate fees for himself to
which he was not entitled. In so doing, AHMED defrauded both the Crypto Exchange and its
users,

.14. To further the Attack, SHAKEEB AHMED, the defendant, took out a series of
cryptocutrency “flash loans” worth tens of millions of dollars from a cryptocurrency lending
platform (the “Crypto Lender”). A “flash loan” is an uncollateralized cryptocurrency loan without
borrowing limits that is taken out and repaid in a single transaction, and can be used in situations
where an individual sees an opportunity to immediately profit on the blockchain.

15... Over a period of several hours on or about July 2, 2022 and July 3, 2022,
SHAKEEB AHMED, the defendant, deposited the funds from the flash loans into the Crypto
Exchange’s liquidity pools, withdrew the funds, claimed a falsely inflated percentage of the flash

loans as fees from the Crypto Exchange through his deceptive use of the First Fake Tick Account,
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and then repaid the flash loans to the Crypto Lender. In total, as part of the Attack, AHMED took
out at least 21 flash loans from the Crypto Lender and used to them to generate falsely inflated
fees from five separate liquidity pools controlled by the Crypto Exchange.

16. As part of the Attack, SHAKEEB AHMED, the defendant, also needed to withdraw
the flash loan money that he had deposited into the liquidity pool—the principal—and return it to
the Crypto Lender. In order to process a withdrawal of the principal, the Crypto Exchange’s smart
contract required a tick account that was listed as owned by the Crypto Exchange on the
blockchain, and that contained data matching the tick data from the fee-claiming process. To
satisfy this requirement, AHMED created the Second Fake Tick Account, a position account—
listed as owned by the Crypto Exchange—-and manipulated its data to closely resemble a tick
account. Specifically, AHMED made a series of cryptocurrency deposits in specific amounts and
. ina specific order, in order to manipulate the data in the Second Fake Tick Account so that it
contained data that matched certain of the data in the First Fake Tick Account. By doing this,
AHMED was able to fraudulently cause the Crypto Exchange’s smart contract to treat AHMED ’s
position account—the Second Fake Tick Account-—as a legitimate tick account. AHMED then
used the Second Fake Tick Account to withdraw the principal he owed and returned it to the Crypto
Lender,

17. An example of how SHAKEEB AHMED, the defendant, used the Fake Tick
Accounts and one of the flash loans to defraud the Crypto Exchange is described below. Because
each flash loan must be taken out and repaid as part of a single transaction on the blockchain, each

of the following events together occurred as a single transaction conducted by AHMED:
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a. On or about July 2, 2022, AHMED took out a flash loan from the Crypto
Lender of approximately 840,000 PAI (Parrot) (“PAI”). PAI is a digital stablecoin worth
approximately one dollar.

b. AHMED deposited the approximately 840,000 PAI into a liquidity pool
(“Pool-1”) controlled by the Crypto Exchange that covered exchanges between PAI and a second
cryptocurrency: USDC (USD Coin) (“USDC”), Like PAI, USDC is a digital stablecoin worth
approximately one dollar.

c. AHMED used the First Fake Tick Account, which contained fake price-tick
data supplied by AHMED, to claim inflated fees of approximately 1,133.93 PAI and 120.14
USDC.

d. AHMED then used the Second Fake Tick Account to withdraw his principal
of 840,000 PAL

€. AHMED repeated the cycle four more times with the same flash loan. Each
time, he redeposited the 840,000 PAI into Pool-1, claimed inflated fees of approximately 1,133.93
PAJ and 120.14 USDC through his use of the First Fake Tick Account, and withdrew his principal
of 840,000 PAI through his use of the Second Fake Tick Account.

f. After five cycles, AHMED returned the principal of 840,000 PATI to the
Crypto Lender, plus a small fee to the Crypto Lender, and kept falsely inflated fees from the Crypto
Exchange totaling approximately 5,669.65 PAI and 600.7 USDC.

18: SHAKEEB AHMED, the defendant, based on approximate U.S. dollar conversions

of the ecryptocurrency valuations at the time, ultimately claimed approximately $9 million in
cryptocurrency as falsely inflated fees from 21 flash loans based on the falsified data in the First

and Second Fake Tick Accounts. The chart below shows the fees AHMED claimed from the 21
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flash loans, as well as the dates and times of the flash Joans, the Crypto Exchange pools AHMED

exploited, and the amount of cryptocurrency AHMED borrowed:

Date/Time Crypto Amount Fees Extracted
(UTC) Exchange Borrowed

Pook
07/02/2022 PAI/USDC 840,000 PAI 5,669.65 PAI
20:08:52 600.70 USDC
07/02/2022 USDT/USDC | 5,500,000 USDT | 2,228,250.55 USDT
21:57:55 424,501.75 USDC
07/02/2022 USDT/USDC | 5,500,000 USDT | 2,234,934.9 USDT
21:59:12 425,775.20 USDC
07/02/2022 USDH/USDC | 400,000 USDH | 303,414.00 USDH
22:06:26 34,041.90 USDC
07/02/2022 USDH/USDC | 400,000 USDH | 304,323.50 USDH
22:06:57 34,143.95 USDC
07/02/2022 USDH/USDC | 400,000 USDH | 304,323.50 USDH
22:07:23 34,143.95 USDC
07/02/2022 msOL/SOL 10,500 mSOL 19,451 mSOL
22:10:14 14,525.55 SOL
07/02/2022 stSOL/SOL 57,000 stSOL 20,787.95 stSOL
22:11:18 19,631.50 SOL
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAIL
22:25:26 602.50 USDC
07/02/2022 PAI/OUSDC 840,000 PAT 5,686.65 PAI
22:26:18 602.50 USDC
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAI
22:27:18 602.50 USDC
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAI
22:28:10 602.50 USDC
07/02/2022 PAVUSDC 840,000 PAT 5,686.65 PAI
22:29:01 602.50 USDC
07/02/2022 PAVUSDC 840,000 PAT 5,686.65 PAI
22:30:21 662.50 USDC
07/02/2022 PAVUSDC 840,000 PAT 5,686.65 PAI
22:31:09 602.50 USDC
07/02/2022 PAV/USDC 840,000 PAI 5,686.65 PAI
22:32:42 602.50 USDC
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAI
22:34:09 602.50 USDC
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAI
22:36:15 602.50 USDC
07/02/2022 PAI/USDC 840,000 PAT 5,686.65 PAI
22:37:24 602.50 USDC

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07/03/2022 stSOL/SOL 3,000 stSOL 1,094.10 stSOL
0:26:08 1,033.20 SOL
07/03/2022 stSOL/SOL 520 mSOL 963.25 mSOL
0:32:40 1,007.1 SOL

The example described in paragraph 17 is shown in the first row of this chart. Like PAI and USDC,
USDT (Tether) and USDH (Hubble) are also digital stablecoins worth approximately one dollar.
As used in the chart, Solana (SOL) is a cryptocurrency and Marinade staked SOL (mSOL) and
Lido staked SOL (stSOL) are liquid staking tokens that users receive upon staking SOL on the
Marinade and Lido protocols.

19. After the Attack, the Crypto Exchange initiated a plan to compensate the users
AHMED had victimized.

AHMED?’s Post-Attack Laundering of Stolen Fees

20. After SHAKEEB AHMED, the defendant, fraudulently obtained inflated
cryptocurrency fees in the Attack, he laundered the fraud proceeds through a series of transactions
in order to conceal the nature, location, source, and his control of the stolen funds. AHMED
engaged in the following laundering transactions, among others:

a. In or about July 2022, after the Attack, AHMED conducted dozens of

transactions exchanging one cryptocurrency token for another.

b. In or about July 2022, after the Attack, AHMED “bridged” fraud proceeds
across one blockchain over to another. A bridge contract is a mechanism to transfer cryptocurrency

from one blockchain to another.

C. In or about July 2022, after the Attack, AHMED laundered fraud proceeds

through a swap aggregator to other wallets on the Solana blockchain. Swap aggregators aggregate

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liquidity from across different decentralized exchanges to work out more favorable crypto prices
for decentralized exchange traders.

d. On or about November 5, 2022, AHMED exchanged fraud proceeds into
the cryptocurrency Monero, an anonymized and particularly difficult cryptocurrency to trace.

e. In or about May 2023, AHMED laundered fraud proceeds through overseas
cryptocurrency exchanges.

Post-Attack Communications With the Crypto Exchange

2k. On or about July 3, 2022, almost immediately after the Attack, the Crypto Exchange
initiated public communications on the blockchain with the unidentified “hacker” of the Crypto
Exchange (in actuality, SHAKEEB AHMED, the defendant) in order to seek the return of the
stolen funds. In these public statements on the blockchain, the Crypto Exchange indicated, among
other things, that it would refer the Attack to law enforcement if the stolen funds were not returned
and offered to pay the then-unidentified hacker $800,000 for the return of all the stolen funds.

22, On or about July 6, 2022, a few days after the Attack, SHAKEEB AHMED, the
defendant, using an encrypted email service based overseas, contacted the Crypto Exchange and
stated that he would return a portion of the stolen funds if the Crypto Exchange agreed not to refer
the Attack to law enforcement for investigation. At the time, AHMED was in possession of
approximately $9 million in stolen funds. Specifically, AHMED told the Crypto Exchange that it
was in a “tough spot” and stated that he would keep approximately $2.5 million of stolen
cryptocurrency, noting that he would return of the remainder of the stolen funds to the Crypto

Exchange on the condition that it not refer his conduct to law enforcement.

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23, In response, also on or about July 6, 2022, the Crypto Exchange restated its original
figure of $800,000, noting that it was “starting to apply for legal support and in that case it wouldn’t
take long to find you” and “[o]therwise, you may face prosecution and likely lose everything.”

24. On or about July 7, 2022, SHAKEEB AHMED, the defendant, indicated that he
intended to keep $1.8 million of the stolen cryptocurrency and stated, for the first time, that he
would provide, in substance and in part, details on two purported vulnerabilities in the Crypto
Exchange’s platform and how to improve the Crypto Exchange’s code. In doing so, AHMED told
the Crypto Exchange that its post-Attack predicament was a “nightmare scenario.” Later that same
day, AHMED returned all but approximately $1.5 million of the fraudulently obtained
cryptocurrency to the Crypto Exchange. The next day, on or about July 8, 2022, AHMED provided
information about the Crypto Exchange’s technical vulnerabilities.

AHMED ?’s Post-Attack Internet History

25. On or about July 5, 2022, just two days after the Attack and before he had
communicated with the Crypto Exchange, SHAKEEB AHMED, the defendant, visited or searched
for information about the Attack itself on the internet. For example:

a. AHMED searched for the term “defi hack.”

b. AHMED visited a news article with the title, “[Crypto Exchange]
Vulnerability Causes DeFi Clients to Lose Millions.”

C. AHMED visited a news article with the title, “Why Expensive Crypto
Hacks Are The Cost of Doing Business in DeF1.”

d. AHMED also visited several pages on the Crypto Exchange’s website.

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26. On or about July 5, 2022, still before he had communicated with the Crypto
Exchange, SHAKEEB AHMED, the defendant, visited a news article describing a $10 million
bounty that a cryptocurrency bridging platform had paid.

27. On or about July 5, 2022, again before he had communicated with the Crypto
Exchange, SHAKEEB AHMED, the defendant, visited or searched for information about white-
collar criminal defense attorneys with expertise in cryptocurrency.

28. SHAKEEB AHMED, the defendant, used a particular virtual private network
(“VPN-1”) to conceal his Internet Protocol address while he executed the Attack. On or about
July 27, 2022, and continuing into August 2022, AHMED visited or searched for information in
an attempt to confirm that VPN-1I could not be traced back to him.

29. From approximately July 2022 through approximately December 2022, SHAKEEB
AHMED, the defendant, visited or searched for information about whether he was likely to be
prosecuted for the Attack. In particular:

a. On or about July 5, 2022, still before he had communicated with the Crypto
Exchange, AHMED searched for the term “embezzled.”

b. On or about August 6, 2022, AHMED searched for the term “defi hacks
fbi.”

C. On or about August 8, 2022, AHMED searched for the term “defi hacks
prosecution.”

d. On or about August 16, 2022, AHMED searched for “‘wire fraud,” which is
one of the charges in this Indictment.

e On or about August 16, 2022, AHMED searched for the term “how to prove

malicious intent.”

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f. On or about August 20, 2022, AHMED searched for the term “evidence
laundering.”

30. From approximately August 2022 through approximately December 2022,
SHAKEEB AHMED, the defendant, visited or searched for information about his ability to flee
the United States, avoid extradition, and keep his stolen cryptocurrency. For example:

a. On or about August 22, 2022, AHMED searched for the term, “can I cross
border with crypto.”

b. On or about September 7, 2022, AHMED searched for the terms, “how to
stop federal government from seizing assets” and “how to stop fed govt from seizing assets,”

C. On or about October 27, 2022, AHMED searched for the term, “buying
citizenship” and visited related websites including: “16 Countries Where Your Investments Can
Buy Citizenship ....”

STATUTORY ALLEGATIONS

31. From at least in or about July 2022 through at least in or about May 2023, in the
Southern District of New York and elsewhere, SHAKEEB AHMED, the defendant, knowingly
having devised and intending to devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses, representations, and promises, transmitted
and caused to be transmitted by means of wire, radio, and television communication in mterstate
and foreign commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing
such scheme and artifice, to wit, AHMED engaged in the Attack to defraud the Crypto Exchange
and its users, and fraudulently obtained cryptocurrency.

(Title 18, United States Code, Sections 1343 and 2.)

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COUNT TWO
(Money Laundering)

The Grand Jury further charges:

32. The allegations contained in paragraphs 1 through 30 of this Indictment are
repeated and realleged as if fully set forth herein.

33. From at least in or about July 2022 through at least in or about May 2023, in the
Southern District of New York and elsewhere, SHAKEEB AHMED, the defendant, knowing that
the property involved in a financial transaction represented the proceeds of some form of unlawful
activity, conducted and attempted to conduct such a financial transaction, which transaction
affected interstate and foreign commerce and involved the use of a financial institution which was
engaged in, and the activities of which affected, interstate and foreign commerce, and which in
fact involved the proceeds of specified unlawful activity, to wit, the wire fraud offense charged in
Count One, knowing that the transaction was designed in whole and in part to conceal and disguise

the nature, the location, the source, the ownership, and the control of the proceeds of specified

unlawful activity.
(Title 18, United States Code, Section 1956(a)(1)(B){i).)
FORFEITURE ALLEGATIONS
34. Asa result of committing the wire fraud offense alleged in Count One of this

Indictment, SUAKEEB AHMED, the defendant, shall forfeit to the United States pursuant to Title
18, United States Code, Section 981(a}(1}(C), and Title 28, United States Code, Section 2461 (c),
any and all property, real and personal, that constitutes or is derived from proceeds traceable to the
commission of said offense, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of said offense.

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35.  Asaresult of committing the money laundering offense alleged in Count Two of
this Indictment, SHAKEEB AHMED, the defendant, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 982(a)(1), any and all property, real and personal, involved
in said offense, or any property traceable to such property, including but not limited to a sum of
money in United States currency representing the amount of property involved in said offense.

Substitute Assets Provision

36.  Ifany of the above-described forfeitable property, as a result of any act or omission

of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third person,

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(ce) has been commingled with other property which cannot be subdivided without
difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Sections 981 and 982;

Title 21, United States Code, Sections 853; and
Title 28, United States Code, Section 2461.)

FORZPERSON DAMIAN WILLIAMS

Yo e- 3 United States Attorney

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